Case 8:04-cr-00438-JSM-TBM Document 252 Filed 02/08/06 Page 1 of 3 PageID 454



                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION



    UNITED STATES OF AMERICA

    -vs-                                                    Case No. 8:04-CR-438-T-30TBM

    AURELIO YESKUEN,

         Defendant.
    ____________________________/

                                                ORDER

           Before the Court is Defendant’s Place Holder Motion Challenging Subject Matter

    Jurisdiction Pursuant to Title 28 U.S.C. § 1331 (Dkt. 251). Having found that Defendant did

    not have a motion for collateral relief pending, the Court entered on January 11, 2006,

    denying Defendant’s Emergency Motion for an Extension of Time to File Supportive

    Memorandum of Law Via § 2255 (Dkt. 250). Defendant now seeks a sixty (60) day

    extension of time in which to “perfect and submit the pleadings” in support of his assertion

    that his incarceration is illegal (Dkt. 251 ¶ 6).

           Following his guilty plea to two drug-related charges, Defendant was sentenced on

    March 3, 2005 (Dkt. 126). Judgment was entered on March 4, 2005 (Dkt. 133). Defendant

    failed to file a direct appeal.

           Because Defendant is a “prisoner in custody under sentence of a court established

    by Act of Congress,” a § 2255 motion is the proper means for Defendant to challenge the

    legality of his conviction. 28 U.S.C. § 2255. See also Sawyer v. Holder, 326 F.3d 1363,

    1365 n. 3 (11th Cir. 2003). The Antiterrorism and Effective Death Penalty Act of 1996
Case 8:04-cr-00438-JSM-TBM Document 252 Filed 02/08/06 Page 2 of 3 PageID 455


    ("AEDPA") established a mandatory one-year "period of limitation" for § 2255 motions,

    which runs from the latest of the following events:

           (1) the date on which the judgment of conviction becomes final;

           (2) the date on which the impediment to making a motion created by governmental
               action in violation of the Constitution or laws of the United States is removed,
               if the movant was prevented from making a motion by such governmental
               action;

           (3) the date on which the right asserted was initially recognized by the Supreme
               Court, if that right has been newly recognized by the Supreme Court and made
               retroactively applicable to cases on collateral review; or

           (4) the date on which the facts supporting the claim or claims presented could have
               been discovered through the exercise of due diligence.

    28 U.S.C. § 2255(1)-(4). In the present case, since Defendant did not file a direct appeal,

    the limitation period commenced to run on March 14, 2005. To be considered timely,

    Defendant’s § 2255 motion must be filed on or before March 14, 2006.

           Defendant filed the instant motion “to stop the clock” on the one-year limitation

    period applicable to requests for relief under § 2255. Defendant contends that the limitation

    period commenced to run when the Supreme Court entered its decision in United States

    v. Booker on January 12, 2005. 543 U.S. 220, 125 S.Ct. 738, 756 (2005) (finding that

    “[a]ny fact (other than a prior conviction) which is necessary to support a sentence

    exceeding the maximum authorized by the facts established by a plea of guilty or a jury

    verdict must be admitted by the defendant or proved to a jury beyond a reasonable doubt”).

    A favorable decision on Defendant’s argument that the Court should look to Booker as a

    starting point for his one-year limitation period would clearly work to his detriment since that

    decision issued before Defendant’s judgment of conviction was entered.

           The Court finds the other bases Defendant asserts for his request for an

    enlargement of time unpersuasive. Defendant’s statement that “the controversy is premised


                                                  -2-
Case 8:04-cr-00438-JSM-TBM Document 252 Filed 02/08/06 Page 3 of 3 PageID 456


    on a bill of attainder, bill of pains and penalties and separation of powers violations in the

    instant case that make the judgment void and incarceration illegal” is likewise unavailing

    to his cause. Mere conclusions of law devoid of any factual support fail to provide a basis

    for extending a statutorily imposed limitation period.

             Defendant’s one-year limitation period will expire on March 14, 2006. Defendant

    should conduct himself accordingly.

             ACCORDINGLY, the Court ORDERS that Defendant’s Place Holder Motion

    Challenging Subject Matter Jurisdiction Pursuant to Title 28 U.S.C. § 1331 (Dkt. 251) is

    DENIED.

             DONE and ORDERED in Tampa, Florida on February 8, 2006.




    SA:jsh

    Copy furnished to:
    Pro Se Defendant




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